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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,
Plaintiff,
and

FAIR HOUSING PARTNERSHIP OF
GREATER PITTSBURGH, INC. ef al.,

Civil Action No. 23-742 (GBW)
Plaintiffs-Intervenors,
Vv.

AION MANAGEMENT, LLC, ef al.,

Defendants.

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ORDER
At Wilmington on this 18th day of March 2025, for the reasons set forth in the
Memorandum Opinion issued this date,
IT IS HEREBY ORDERED that:
1. Defendants’ Motion to Dismiss Plaintiff's Amended Complaint (D.I. 23) is
DENIED.

be Defendants’ Motion to Dismiss Plaintiff-Intervenors’ Complaint (D.I. 25) is

DENIED.

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THE HONORABLE GREGORY B. WILLIAMS
UNITED STATES DISTRICT JUDGE

